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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

CORRIE L. WRIGHT,                     )
                                      )
                      Plaintiff,      )
                                      )
                                                                      2404-KHV-DJW
vs.                                   )             Case No. 11-
                                      )
CITY OF TOPEKA, KANSAS,               )
                                      )
                      Defendant.      )
________________________________ _____)


                                      COMPLAINT

      The plaintiff, Corrie L. Wright, for her claims against the defendant, City of

Topeka, Kansas, states and alleges the following:

                              JURISDICTION AND VENUE

      1.      This is an employment case based upon and arising under the Family and

Medical Leave Act, as amended, 29 U.S.C. § 2611 et seq. ("FMLA"),Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq, and the Americans with

Disabilities Act, 42 U.S.C. § 12101 et seq. (“ADA”).

      2.      This court has subject matter jurisdiction over the plaintiff’s federal claims

pursuant to 28 U.S.C. § 1331, since these claims arise under federal statutory law.

      3.      All of the unlawful acts and practices set forth below were committed in

the State of Kansas, and venue is proper in this court pursuant to 28 U.S.C. § 1391(b).

                                        PARTIES

      4.      The plaintiff, Corrie L. Wright, is presently employed as a Housing

Manager by the defendant. The plaintiff is a citizen and resident of Shawnee County,

Kansas.



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       5.      The defendant, City of Topeka, Kansas, is a governmental entity

organized and operating pursuant to the laws of the State of Kansas.

                                FACTUAL ALLEGATIONS

       6.      In April 2005, Plaintiff was hired by Defendant, as a Program

Administrator.

       7.      In or about 2007, Plaintiff was promoted to Housing Manager.

       8.      Beginning in approximately 2008, Plaintiff began training and preparing for

the Deputy Director of Housing and Neighborhood Development at the insistence of the

then Deputy Director, Kevin Rooney, and the Director of Housing and Neighborhood

Development, Randy Speaker.

       9.      Plaintiff was told on numerous occasions by Rooney and Speaker that she

would be promoted to the Deputy Director position upon Rooney’s retirement.

       10.     In or about March 2009, Plaintiff learned that Speaker and Rooney were

attempting to fire another employee due to a disability which caused her to cough

frequently.

       11.     Plaintiff informed the Human Resources Department that Speaker and

Rooney were attempting to terminate an employee based upon a disability.

       12.     Plaintiff is enrolled as a donor in the National Kidney Registry.

       13.     In or about September 2010, Plaintiff was notified by the National Kidney

Registry that they found a match for her kidney and requested that she donate in late

September.

       14.     Plaintiff took four (4) weeks of approved leave under the Family and

Medical Leave Act to donate a kidney and recover from surgery.




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       15.    Rooney retired during Plaintiff’s leave.

       16.    When Plaintiff returned to work on October 25, 2010, she noticed a certain

amount of hostility toward her from Speaker.

       17.    In November 2010, Plaintiff learned that the Deputy Director position had

been posted as a job vacancy on the internet.

       18.    Plaintiff discovered that the job was posted externally for the Deputy

Director position. Plaintiff was not notified prior to the external posting of the Deputy

Director position was open for application. Plaintiff was told by a co-worker that the

position was posted in the newspaper. Plaintiff realized she would have to apply for the

position and go through the interview process rather than simply be promoted as

previously indicated.

       19.    Plaintiff applied and interviewed for the position.

       20.    In January 2011, Plaintiff was informed that she did not receive the Deputy

Director position.

       21.    The Deputy Director position would have been a pay increase of

approximately $15,000 per year.

       22.    Defendant filled the Deputy Director position with a lesser-qualified male.

                       COUNT I - RETALIATION IN VIOLATION
                     OF THE FAMILY AND MEDICAL LEAVE ACT

       23.    Plaintiff incorporates by reference the above numbered paragraphs 1

through 22 as though fully set forth herein.

       24.    Plaintiff engaged in protected activity by requesting and taking approved

FMLA leave.




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       25.    Defendant retaliated against Plaintiff because she engaged in protected

activity by denying her a promotion which she previously had been informed she would

recieve.

       26.    As a result of Defendant’s illegal and willful conduct, Plaintiff has suffered

substantial economic losses.

       WHEREFORE, Plaintiff prays for judgment against Defendant in excess of

$100,000.00, consisting of back pay, reinstatement or front pay, prejudgment and post-

judgment interest, liquidated damages, attorney fees, litigation expenses and such

further relief as the Court deems just and proper.

           COUNT II: DISPARATE TREATMENT IN VIOLATION OF TITLE VII

       27.    Plaintiff incorporates by reference paragraphs 1 through 26 as though fully

set forth herein.

       28.    Due to her gender, Plaintiff was treated differently than similarly situated

male employees by Defendant. This disparate treatment included requiring Plaintiff to

go through an interview process when other, male, employees had previously received

promotions within the department, and hiring a lesser-qualified male for the Deputy

Director position.

       29.    As a result of the discriminatory actions by defendant, Plaintiff has

suffered damages in the form of loss of back pay and benefits, future financial loss,

mental anguish, emotional distress and loss of enjoyment of life.

       WHEREFORE, Plaintiff prays for judgment against Defendant in excess of

$100,000.00, consisting of back pay and loss of benefits, front pay, emotional distress




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and mental anguish, attorney fees, litigation expenses, prejudgment interest, and such

other and further relief as the Court deems just and proper.

                COUNT III: RETALIATION IN VIOLATION OF THE ADA

       30.    The plaintiff incorporates by reference the above numbered paragraphs 1

through 29 as though fully set forth in Count I.

       31.    During the plaintiff's employment, Plaintiff engaged in protected activity by

reporting to Human Resources information she had received regarding the proposed

termination of a disabled employee due to her coughing.

       24.    The plaintiff's complaint to Human Resources was a motivating factor in

the defendant's decision to deny Plaintiff the Deputy Director position, in violation of the

ADA. In denying Plaintiff the Deputy Director position, the defendant acted with malice

or with reckless indifference to the plaintiff's federally protected rights.

       25.    As a result of the defendant's illegal and intentional conduct, the plaintiff

has suffered serious economic losses, loss of enjoyment of life, anger, and emotional

pain and suffering. In addition, the plaintiff is entitled to an award of punitive damages.

       WHEREFORE, the plaintiff prays for judgment against the defendant in the form

of injunctive and declaratory relief, as well as damages in excess of $100,000.00,

consisting of back pay, including benefits,             front   pay,   prejudgment   interest,

compensatory damages, punitive damages, attorney fees, litigation expenses and such

other and further relief as the Court deems just and proper.




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                                   SLOAN, EISENBARTH, GLASSMAN
                                     McENTIRE & JARBOE, L.L.C.

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                            REQUEST FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. Pro. 38, the plaintiff requests a trial by jury on all claims

triable to a jury.



                                          SLOAN, EISENBARTH, GLASSMAN
                                            McENTIRE & JARBOE, L.L.C.

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                        DESIGNATION OF PLACE OF TRIAL

      Plaintiff requests that Kansas City, Kansas, be designated as the place of trial in

the above-captioned matter.

                                        SLOAN, EISENBARTH, GLASSMAN
                                          McENTIRE & JARBOE, L.L.C.

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